3243124.1.18   Case 3:20-cv-09272-FLW-LHG Document 7 Filed 09/11/20 Page 1 of 3 PageID: 41
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                                   UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEW JERSEY


                 RYSHEEDNA SMITH,
                 Plaintiff

                                            V.                    SUMMONS IN A CIVIL CASE
                 EQUIFAX INFORMATION SERVICES,
                 LLC, ET AL.,
                 Defendant
                                                                  CASE
                                                                  NUMBER: 3:20−CV−09272−FLW−LHG


                    TO: (Name and address of Defendant):
                                      HEALTHCARE REVENUE RECOVERY GROUP,
                                      LLC
                                      1643 N. HARRISON PKWY. BUILDING H, SUITE
                                      100
                                      SUNRISE FL 33323




                    A lawsuit has been filed against you.
                     Within 21 days after service of this summons on you (not counting the day you received it)
                 −− or 60 days if you are the United States or a United States Agency, or an office or employee of
                 the United States described in Fed. R. civ. P. 12 (a)(2) or (3) −− you must serve on the plaintiff
                 an answer to the attached complaint or a motion under rule 12 of the Federal Rules of Civil
                 Procedure. The answer or motion must be served on the plaintiff or plaintiff`s attorney, whose
                 name and address are:




                    If you fail to respond, judgment by default will be entered against you for the relief
                 demanded in the complaint. You also must file your answer or motion with the court.




                  s/ WILLIAM T. WALSH
                  CLERK




                                                                              ISSUED ON 2020−07−22 16:39:50, Clerk
                                                                                         USDC NJD
3243124.1.19   Case 3:20-cv-09272-FLW-LHG Document 7 Filed 09/11/20 Page 2 of 3 PageID: 42
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                                                                RETURN OF SERVICE
               Service of the Summons and complaint was made by DATE
               me(1)                                                    8/24/2020
               NAME OF SERVER (PRINT)                           TITLE
                       Ivona Gates                                   Secretary
                Check one box below to indicate appropriate method of service


                                                                                       HEALTHCARE REVENUE
                                                                                       RECOVERY GROUP,
                      X Served personally upon the defendant. Place where served: _______________________________________
                                                                                       LLC
                        ________________________________________________________________________
                                                                                       1643 N. HARRISON PKWY.
                                                                                       BUILDING
                        Left copies thereof at the defendant's dwelling house or usual place of abodeH,with
                                                                                                        SUITE
                                                                                                            a person of suitable age
                        and
                                                                                       100
                        discretion then residing therein.
                                                                                       SUNRISE FL 33323
                          Name of person with whom the summons and complaint were left:__________________________________

                          Returned unexecuted:_____________________________________________________________________
                          _________________________________________________________________________
                          ________________________________________________________________________
                          Other (specify) :_________________________________________________________________________
                          ________________________________________________________________________
                          ________________________________________________________________________


                                                           STATEMENT OF SERVICE FEES
                TRAVEL                              SERVICES                                         TOTAL

                                                             DECLARATION OF SERVER

                            I declare under penalty of perjury under the laws of the United States of America that the foregoing
                         information
                         contained in the Return of Service and Statement of Service Fees is true and correct.


                                           9/11/2020                            /s/Ivona Gates
                       Executed on       ___________________                 _______________________________________
                                                    Date                     Signature of Server

                                                                               22142 West Nine Mile Rd. Southfield
                                                                             _______________________________________
                                                                               MI 48033
                                                                             Address of Server
     Case 3:20-cv-09272-FLW-LHG Document 7 Filed 09/11/20 Page 3 of 3 PageID: 43




Date Produced: 08/31/2020

LETTERSTREAM:

The following is the delivery information for Certified Mail™/RRE item number 9214 8901 4298 0452
3297 29. Our records indicate that this item was delivered on 08/24/2020 at 12:35 p.m. in FORT
LAUDERDALE, FL 33323. The scanned image of the recipient information is provided below.

Signature of Recipient :




Address of Recipient :




Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
please contact your local post office or Postal Service representative.

Sincerely,
United States Postal Service
